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     1                                                              THE HONORABLEMARSHA J.                   PECHMAN
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 7
  8                                           UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF WASHINGTON
 9                                                     AT SEATTLE
10        ANCORATECHNOLOGIES, INC.,                                  )
                                                                     )
11                         Plaintiff                                 )
12                                                                   )
                   VS.                                               )   CIVIL NO. 2:09-cv-00270-MJP
13                                                                   )
         TOSHIBA AMERICA                                             )
         INFORMATIONSYSTEMS, INC.,                                   )   STIPULATION AND [PROPOSED]
14       ET AL.,                                                    )    ORDER RE MODIFICATION TO THE
                                                                    )    PROTECTIVEORDER(Dkt. #45)
15                         Defendants                               )
16                                                                  )
                                                                    )
         TOSHIBA AMERICA                                            )
17       INFORMATIONSYSTEMS, INC.,                                  )
         ET AL.,                                                    )
18
                                                                    )
                           Counterclaimants                         )
19
                                                                    )
20                VS.                                               )
                                                                    )
21       ANCORA TECHNOLOGIES,                                       )
         INC.,                                                      )
22                                                                  )
                           Counterdefendant                         )
23                                                                  )
                                                                    )
24       MICROSOFT CORPORATION,                                     )
                                                                    )
25                         Intervenor                               )
26
27

28

         Stipulated M~ification to the Protective Order(Dkt. #45)                    BROOICS KUSHMANP.C.
         Case Number: 2:09-cv-00270-MJP                                              1000 TownCenter, Twenty-SecondFloor
                                                                                     Southfield, Michigan 48075
                                                                                     Tel: (248) 358-4400; Fax (248) 358-3351
                Case 2:09-cv-00270-MJP Document 81 Filed 11/04/09 Page 2 of 4




     1                         STIPULATED MODIFICATION TO PROTECTIVE ORDER

 2                  Throughtheir undersignedcounsel of record, Plaintiff AncoraTechnologies,Inc.,

 3       Defendants Toshiba America Information Systems, Inc., Dell Inc., Hewlett-Packard Company,

 4       Intervenor Microsoft Corporation, and Third Party Defendant Miki Mullor (collectively                          the

 5       "Parties") stipulate to a modification of paragraph23 ("Prosecution Bar") of the Protective Order,

 6       such that it shall nowread as follows:

 7                                                                   Prosecution Bar
 8
                             23.      Any person who actually          reviews CONFIDENTIAL
 9                  INFORMATION,           HIGHLY CONFIDENTIAL INFORMATION or
                    OUTSIDE COUNSELEYES ONLYSOURCECODEshall not directly                       or
l0
                    indirectly (e.g., by advising) participate in the drafting or amendingof any
11                  patent claims relating to the subject of the U.S. Patent No. 6,411,941 or the
                    subject of operating system software security for personal computersfrom the
12                  time of receipt or review of such information through and including one (1)
                    year following judgment(excluding any appeals) or settlement of this matter,
13
                    whicheveris earlier. This restriction does not apply generally to law firms
14                  involved in this litigation, but only to specific individuals. Notwithstanding
                    the foregoing, in the event of a re-examination of the U.S. Patent No.
15                  6,411,941 by the U.S. Patent and Trademarkoffice, the limitations set out in
16                  this paragraphshall not prevent outside counsel for a party fromparticipating
                    fully in the re-examinationproceedings, including drafting or amendingpatent
17                  claims related to the subject of U.S. Patent No. 6,411,941. The Parties
                    specifically agreed to address whetherindependentexperts are subject to the
18                  prosecution bar of paragraph 23 on an as needed basis. The Parties each
19                  respectfully reserve and do not waive any position or issues based on this
                    stipulation regarding the abovepoints.
20
         TheParties respectfully request that the foregoing modificationto the Protective Order be
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         approvedand adopted by the Court.
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         Stipulated Modificationto the Protective Order (Dkt. #45)                     BROOKSKUSItMAN P.C.
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                Case 2:09-cv-00270-MJP Document 81 Filed 11/04/09 Page 3 of 4




     1               SO STIPULATED AND AGREED:

     2    Dated: November4, 2009                                         Respectfully submitted,
     3
                                                                         BROOKSKUSHMAN
                                                                                     P.C.
  4
                                                                         By/s/Marc Lorelli
  5
                                                                         MARKA. CANTOR     (MI Bar P32661) Pro Hac Vice
  6                                                                      JOHNS. LeROY(MI Bar P61964) Pro Hac Vice
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                                                                           and Third Party Defendant Miki Mullor
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                Case 2:09-cv-00270-MJP Document 81 Filed 11/04/09 Page 4 of 4




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                                                                          Defendants Toshiba America Information
  4
                                                                          Systems, Inc., Dell Inc., and Hewlett-Packard
  5                                                                       Company

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10
11                                                                        Attorneys for Intervenor Microsoft Corp.

12                                                            [PROPOSED] ORDER
13
                    IT IS SO ORDERED.
14
                    Dated this __ day of                                             ,2009.
15

16
                                                               HONORABLEMARSHA J. PECHMAN
17                                                             UNITED STATES DISTRICT COURTJUDGE
18       Presented by:
19
         BROOKSKUSHMAN
                     P.C.
20
          By/s/Marc Lorelli
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28                 Attorneys for Plaintiff AncoraTechnologies, Inc. and Third Party DefendantMiki Mullor

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